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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. SHAHAN2016 OK 9Case Number: SCBD-6356Decided: 02/01/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 9, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 



State of Oklahoma ex rel. Oklahoma Bar Association, Complainant,
v.
Ian Michael Shahan, Respondent.




ORDER OF IMMEDIATE INTERIM SUSPENSION


¶1 The Oklahoma Bar Association (OBA), in compliance with Rule 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Criminal Informations, and Pleas, in which Ian Michael Shahan entered: 1) a plea of guilty to one count of Public Intoxication, a misdemeanor in violation of 37 O.S.2011 § 8, occurring on November 15, 2014; 2) a plea of guilty to one count of Driving Under the Influence of Alcohol, a misdemeanor in violation of 47 O.S.2011 § 11-902(A)(2), occurring on February 6, 2015; and 3) a plea of no contest to one count of Leaving the Scene of Collision Involving Property Damage, a misdemeanor in violation of 47 O.S.2011 § 10-103, occurring on February 6, 2015. The OBA also forwarded certified copies of the sentence of a fine for the Public Intoxication, and the deferred sentences for the charges of DUI and Leaving the Scene.

¶2 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court shall by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that Ian Michael Shahan is immediately suspended from the practice of law. Ian Michael Shahan is directed to show cause, if any, no later than February 11, 2016, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until February 22, 2016, to respond.

¶3 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, Ian Michael Shahan has until March 9, 2016, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until March 25, 2016, to respond.

¶4 DONE BY ORDER OF THE SUPREME COURT this 1st day of February, 2016.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.







	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Title 37. Intoxicating Liquors
&nbsp;CiteNameLevel

&nbsp;37 O.S. 8, Consuming or Inhaling Intoxicants in Public Places - PenaltiesCited
Title 47. Motor Vehicles
&nbsp;CiteNameLevel

&nbsp;47 O.S. 11-902, Persons Under the Influence of Alcohol or Other Intoxicating Substance or Combination ThereofCited
&nbsp;47 O.S. 10-103, Accidents Involving Damage to VehicleCited


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
